BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

              .LPEHUO\3DWWRQ
            'HFHPEHU
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

 1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\
                     YV
    %RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 1
                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

          N.B., A MINOR, BY HER PARENTS,
          NATURAL GUARDIANS, AND NEXT
          FRIENDS DWAN BRAY AND AARON BRAY,

                           Plaintiff,

               vs.                               Case No. 1:20-CV-699

          BON SECOURS MERCY HEALTH,
          INC., et al.,
                           Defendants.

                                     ~~~~~~~~~~~~~~~~~~~~



                                     Remote Deposition of
                                       KIMBERLY PATTON



                                Tuesday, December 21, 2021
                                        2:00 p.m.



                                  Stephanie R. Dean, RPR




&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 2
   1      REMOTE APPEARANCES:
   2         On behalf of the Plaintiff:
                    MYLES J. POSTER, ESQ.
   3                Wais, Vogelstein, Forman & Offutt, LLC
                    1829 Reisterstown Road, Suite 425
   4                Baltimore, MD 21208
                    410.998.3600
   5                myles@malpracticeteam.com
   6         On behalf of Defendant United States of America:
                    MARGARET CASTRO, ESQ.
   7                U.S. Department of Justice
                    U.S. Attorney's Office
   8                Southern District of Ohio
                    221 E. 4th Street, Suite 400
   9                Cincinnati, OH 45202
                    margaret.castro@usdoj.gov
  10
               On behalf of Defendant United States of America:
  11                  SEAN FLAIM, ESQ.
                      330 C NW, Suite 2100
  12                  Washington, DC 20201
                      sean.flaim@hhs.gov
  13
               On behalf of Defendants Bon Secours Mercy
  14           Health, Inc., Mercy Health - Anderson Hospital,
               LLC; and Lisa Toft, R.N.:
  15                  BRIAN D. GOLDWASSER, ESQ.
                      Rendigs, Fry, Kiely & Dennis, LLP
  16                  600 Vine Street, Suite 2650
                      Cincinnati, OH 45202
  17                  bgoldwasser@rendigs.com
  18           On behalf of Defendants Brown County Women's
               Health, Inc., Brown County Women's Health, LLC,
  19           and Barbara Patridge, M.D.:
                      DAVID C. CALDERHEAD, ESQ.
  20                  Calderhead, Lockemeyer & Peschke
                      6281 Tri-Ridge Boulevard, Suite 210
  21                  Loveland, OH 45140
                      dcalderhead@clp-law.com
  22
               On behalf of the State of Ohio Department of
  23           Medicaid:
                      PAMELA POPP, ESQ.
  24                  HealthSource of Ohio
                      150 E. Gay Street, 21st Floor
  25                  Columbus, OH 43215

&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                          Page 3
    1                                         I N D E X
    2                        EXAMINATION OF KIMBERLY PATTON
    3       BY MR. POSTER                                                             4
    4                                           EXHIBITS
    5       Deposition Exhibit 1                                                      7
    6       Deposition Exhibit 2                                                      15
    7       Deposition Exhibit 3                                                      19
    8       Deposition Exhibit 4                                                      35
    9                                         - - - - -
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 4
    1          KIMBERLY PATTON, of lawful age, called for
    2     examination, being by me first duly sworn, as
    3     hereinafter certified, deposed and said as follows:
    4                        EXAMINATION OF KIMBERLY PATTON
    5     BY MR. POSTER:
    6            Q.       Good afternoon, Ms. Patton.                      How are you?
    7            A.       I'm good.         How are you?
    8            Q.       Pretty well.           Thank you.           My name is Myles
    9     Poster and I represent the Plaintiffs in a lawsuit
  10      that's been filed in Hamilton County and then since
  11      been removed to federal court in the Southern
  12      District of Ohio.                I'm here to take your deposition
  13      today.          Is that your understanding as well?
  14             A.       Yes.
  15             Q.       Have you ever given a deposition before?
  16             A.       I have.
  17             Q.       When was the last time you gave a
  18      deposition?
  19             A.       It's probably been 15 years ago.
  20             Q.       So appreciating that you've gone through
  21      the process before and it's been some time, what
  22      I'd like to do is just spend a couple minutes going
  23      through some basic ground rules with you so that
  24      you and I are communicating effectively and
  25      efficiently this afternoon, especially since we're


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 5
    1     doing the deposition via Zoom.                         So as you saw,
    2     there's a court reporter here who is taking down
    3     everything that I say and everything that you say,
    4     so for the benefit of the court reporter, and to
    5     help ensure an accurate record in the case in the
    6     deposition today, I would ask that you provide
    7     verbal responses to my questions.                           Yeses, noes, an
    8     explanation if necessary.                     Do your very best to
    9     avoid nonverbal cues like "uh-huh," head shakes,
  10      things like that which are often hard for the court
  11      reporter to take down to create an accurate record,
  12      okay?
  13             A.       Yes.
  14             Q.       At some point during this afternoon's
  15      deposition, it may delve into a somewhat
  16      conversational tone where you might anticipate
  17      where I'm going with my questions and feel the need
  18      to kind of jump in before I'm done asking my
  19      question, or I may similarly start asking you
  20      another question before you're done answering.                                      I
  21      will do my very best not to, but, again, for the
  22      benefit of the court reporter, if you could please
  23      allow me to finish asking my question before you
  24      start answering, I will do my very best not to ask
  25      you another question before you're done answering


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 6
    1     the current question, okay?
    2            A.       Understood.
    3            Q.       At some point this afternoon I may ask you
    4     a question that is poorly worded or frankly doesn't
    5     make any sense.              In the event that that happens,
    6     please let me know and just say, "Myles, I do not
    7     understand the question," and I will do my very
    8     best to rephrase in a manner in which you do
    9     understand, okay?
  10             A.       Yes.
  11             Q.       In the event that you do not ask me to
  12      clarify a question, I'm going to assume that you
  13      understood it as phrased and you've answered it to
  14      the best of your ability; is that fair?
  15             A.       Yes.
  16             Q.       I don't envision us being particularly
  17      long this afternoon, but in the event that you need
  18      to take a break, please just let me know and I'm
  19      happy to accommodate that.                      I just ask that if
  20      we've got a question pending that we finish that
  21      question and answer before we take a break, okay?
  22             A.       Yes.
  23             Q.       What I'd like to do is show you the Notice
  24      of Deposition that brought us together this
  25      afternoon.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 7
    1            A.       Okay.
    2            Q.       We'll mark this as Deposition Exhibit 1.
    3     (Thereupon, Deposition Exhibit 1 was marked for
    4     purposes of identification.)
    5            Q.       Can you see this?
    6            A.       I can.
    7            Q.       Have you seen this document prior to
    8     today's deposition?
    9            A.       Yes.
  10             Q.       And did you have the opportunity to review
  11      it in its entirety, which is five pages in length,
  12      prior to today's deposition?
  13             A.       Yes.
  14             Q.       And you understand that you are here as a
  15      representative on behalf of HealthSource of Ohio to
  16      give a deposition in this case, correct?
  17             A.       Correct.
  18             Q.       And you understand that as a
  19      representative of Health Source of Ohio your
  20      testimony today is binding on HealthSource of Ohio,
  21      correct?
  22             A.       I understand.
  23             Q.       And in the Notice of Deposition that we've
  24      marked as Exhibit Number 1, there are five areas of
  25      inquiry.         Did you have the opportunity to fairly


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 8
    1     prepare and review the information or documents in
    2     connection with those areas of inquiry to testify
    3     this afternoon?
    4            A.       Yes.
    5            Q.       Did you bring anything with you to today's
    6     deposition?
    7            A.       I brought the deposition that you have
    8     that you just showed.                  I also have a contract.
    9            Q.       And what contract is that?
  10             A.       Let me get it.             The contract --
  11      Professional Service Agreement for obstetrical and
  12      gynecological physician coverage for labor and
  13      delivery unit.
  14             Q.       That's between HealthSource of Ohio and
  15      Mercy Health Anderson Hospital, correct?
  16             A.       That's correct.
  17             Q.       How many pages in length is the contract
  18      that you have with you?
  19             A.       Six.      Six.      Let me count again.                 I'm
  20      sorry, seven, front and back.
  21             Q.       Are there page numbers in the bottom
  22      middle of that document?
  23             A.       17.
  24             Q.       Thank you.          Other than the Notice of
  25      Deposition and the Professional Services Agreement,


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 9
    1     are there any other documents you brought with you
    2     to today's deposition?
    3            A.       I'm looking.           I have something -- I have
    4     the HRSA, Notice of Deeming Action.
    5            Q.       Other than the HRSA Notice of Deeming
    6     Action and the two other documents I just
    7     mentioned, is there anything else you brought with
    8     you specifically for today's deposition?
    9            A.       No.
  10             Q.       I neglected to ask this question at the
  11      outset of the deposition, but can you give me your
  12      full name and current business address, please?
  13             A.       Sure.      It's Kimberly Patton, P-A-T-T-O-N.
  14      The address is 424 Wards Corner Road, I guess
  15      that's Loveland, Ohio.                   45 -- I don't know the zip.
  16      45150 maybe.
  17             Q.       And what business or office is located at
  18      the 4224 Wards Corner address?
  19             A.       HealthSource of Ohio.
  20             Q.       Can you tell me what you reviewed in
  21      preparation for today's deposition, Ms. Patton,
  22      please?
  23             A.       I reviewed the documents we just
  24      discussed.
  25             Q.       Anything else other than the three


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 10
    1     documents you mentioned a couple moments ago?
    2            A.       No.
    3            Q.       You're currently employed by HealthSource
    4     of Ohio, correct, Ms. Patton?
    5            A.       Yes.
    6            Q.       In what capacity are you currently
    7     employed?
    8            A.       I'm president and CEO.
    9            Q.       How long have you been employed as the
  10      president and CEO of HealthSource of Ohio?
  11             A.       Nineteen years.
  12             Q.       Can you describe for me generally what
  13      your role as president and CEO of HealthSource of
  14      Ohio entails?
  15             A.       I am the chief executive officer for all
  16      of the operations of the company.
  17             Q.       And in your role as president of
  18      HealthSource of Ohio, can you describe for me
  19      generally what that role entails?
  20             A.       It's actually the same.                   President and CEO
  21      are the same.
  22             Q.       And HealthSource of Ohio is a federally
  23      qualified health center, correct?
  24             A.       That's correct.
  25             Q.       What is your understanding of what a


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 11
    1     federally qualified health center is or does?
    2            A.       A federally qualified health center is an
    3     entity with a 330 grant through the federal
    4     government, and it provides primary care to people
    5     who are either uninsured, underinsured or in need
    6     of care in a community.
    7            Q.       And in your role as president and CEO of
    8     HealthSource of Ohio, what role, if any, do you
    9     play in the application process for federal grants
  10      pursuant to Section 330?
  11             A.       I supervise the vice president that is in
  12      charge of grants, I also will overlook the
  13      application prior to submission.
  14             Q.       And who is -- as of 2014 into 2015, who
  15      would have been the vice president in charge of
  16      grants at HealthSource of Ohio?
  17             A.       Lisa Jackson.
  18             Q.       Is Ms. Jackson still with HealthSource of
  19      Ohio?
  20             A.       Yes.
  21             Q.       And as of 2014 and 2015, were you actively
  22      involved in the preparation of the grant
  23      application on behalf of HealthSource of Ohio or
  24      would you overlook or review a draft before it was
  25      submitted to the Department of Health and Human


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 12
    1     Resources?
    2            A.       I would overlook the draft.
    3            Q.       So in terms of the contents of the grant
    4     application, that information is input or would
    5     have been input by Ms. Jackson, correct?
    6            A.       Correct.
    7            Q.       Do you know how often grant applications
    8     are submitted to the Department of Health and Human
    9     Services on behalf of HealthSource of Ohio?
  10             A.       Can you clarify which grant you are asking
  11      for?
  12             Q.       As you understand it, how many grants --
  13      how many federal grants does HealthSource of Ohio
  14      receive?
  15             A.       We receive our 330 grant that is applied
  16      for annually.
  17             Q.       And the 330 grant, what time of year is
  18      that application submitted to the Department of
  19      Health and Human Services?
  20             A.       Either August or September.
  21             Q.       Do you have any understanding, as part of
  22      Ms. Jackson's preparation of the 330 grants that
  23      are submitted on behalf of HealthSource of Ohio,
  24      where that information that is input into the grant
  25      application comes from?


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 13
    1            A.       The input for the grant application comes
    2     from internal sources within HealthSource and they
    3     are electronic health records or our EPM system or
    4     quality metrics, also our financials.
    5            Q.       You said electronic health record, EPM,
    6     quality metrics and financials.                          Anything else?
    7            A.       No.     That's the majority.
    8            Q.       What does EPM stand for?
    9            A.       EPM is the practice management side of the
  10      house, electronic practice management.
  11             Q.       And why do you review the grant
  12      application -- the 330 grant application before
  13      it's submitted to Health and Human Services?
  14             A.       It's my responsibility to oversee that
  15      grant process before submission to HRSA.
  16             Q.       From your perspective as chief executive
  17      officer and president of HealthSource of Ohio, the
  18      goal is to ensure that the information in that
  19      grant application that is submitted to HRSA is
  20      accurate, correct?
  21             A.       Correct.
  22             Q.       And as of 2015 or 2014 into 2015, what was
  23      Ms. Jackson's formal title at HealthSource of Ohio?
  24             A.       Vice president of marketing and
  25      development.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 14
    1            Q.       In the event that you had any suggestions
    2     or changes to a draft 330 grant application that
    3     Ms. Jackson would prepare, how would you go about
    4     advising her of any proposed changes?
    5            A.       We would discuss them.
    6            Q.       Via email or in person?
    7            A.       In person.
    8            Q.       In terms of the service sites that would
    9     be incorporated into any 330 grant application that
  10      would be submitted to HRSA on behalf of
  11      HealthSource of Ohio, do you have any understanding
  12      as to where Ms. Jackson would obtain that service
  13      site information from?
  14             A.       Let me think about that a second.                           Our
  15      sites from previous years' grants, and any new
  16      additional sites that we have deemed since the last
  17      grant would be included.
  18             Q.       So is it fair to say that every year that
  19      a 330 grant application is submitted, it includes
  20      prior service sites as well as any potential new
  21      service sites that are added for that year that the
  22      grant would be in effect?
  23             A.       Yes, unless there has been a discontinued
  24      site.
  25             Q.       So it would be either an -- the addition


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 15
    1     of a new site or the removal of an old site
    2     potentially.
    3            A.       Correct.
    4            Q.       I would like to show you what we will mark
    5     as Deposition Exhibit Number 2.
    6     (Thereupon, Deposition Exhibit 2 was marked for
    7     purposes of identification.)
    8            Q.       Can you see my screen?
    9            A.       I can.
  10             Q.       And this document is listed as a Notice of
  11      Award Authorization.                  Do you see that in the top
  12      right-hand corner?
  13             A.       Yes.
  14             Q.       And have you seen this document prior to
  15      today's deposition?
  16             A.       I have seen these documents.                       I can't tell
  17      you that I have seen this particular document
  18      recently.
  19             Q.       And what's your understanding generally of
  20      what this document is?
  21             A.       This document is the Notice of Grant Award
  22      for the 330 grant with the details and the
  23      requirements.
  24             Q.       And in this document the budget period
  25      line item 7 is from January 1, 2015 through


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 16
    1     January 31, 2015, correct?
    2            A.       The project period is January 1 -- are you
    3     looking at the project period according to this
    4     document?
    5            Q.       The budget period.
    6            A.       The budget period.                I apologize.            Yes,
    7     1-1-15 to 12-31-15.
    8            Q.       So this would be -- understanding you may
    9     not have seen this specific document in preparation
  10      for today, but you have a general familiarity with
  11      the document, this would be the authorization --
  12      the award authorization for fiscal year 2015 based
  13      on an application -- a 330 grant application that
  14      would have been submitted in August or September of
  15      2014 for the following year, correct?
  16             A.       That's correct.
  17             Q.       And the grantee name and line item in
  18      number 1 is HealthSource of Ohio, correct?
  19             A.       Correct.
  20             Q.       In looking at what's labeled USAA00046,
  21      there are terms and conditions contained in this
  22      Notice of Award Authorization, correct?
  23             A.       Correct.
  24             Q.       And the goal of -- strike that.
  25                      As a 330 grant recipient, the expectation


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 17
    1     is of HealthSource of Ohio that these terms and
    2     conditions will be satisfied, correct?
    3            A.       Correct.
    4            Q.       And looking under the terms and
    5     conditions, the third full paragraph lists,
    6     "Federal grant funds may not be used to pay the
    7     salary of an individual in a rate in excess of
    8     federal executive level II of the federal executive
    9     pay scale currently $180,500."
  10                      Did I read that correctly, Ms. Patton?
  11             A.       You did.
  12             Q.       Do you know who Dr. Timothy Thress is,
  13      Ms. Patton?
  14             A.       I do.
  15             Q.       And who do you know Dr. Thress to be?
  16             A.       He was employed by us as an OB-GYN
  17      physician.
  18             Q.       Do you know for how long Dr. Thress was
  19      employed at HealthSource?
  20             A.       I'm sorry, I don't.
  21             Q.       How long has -- strike that.
  22                      Is Dr. Thress still an obstetrician with
  23      HealthSource of Ohio?
  24             A.       He is not.
  25             Q.       Do you have any understanding as to the


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 18
    1     circumstances or why he left HealthSource of Ohio?
    2            A.       I don't have those details.                      I'm sorry.
    3            Q.       Did you have the opportunity to review
    4     Diane Miller's deposition in preparation for
    5     today's deposition?
    6            A.       I have not talked or spoken with Diane
    7     Miller of her deposition.
    8            Q.       Did you review the written transcript of
    9     her testimony in this case in preparation?
  10             A.       I did not.
  11             Q.       As I understand it, from Ms. Miller's
  12      testimony, the 330 grant money that HealthSource of
  13      Ohio receives is used to pay the salaries of
  14      physicians at HealthSource of Ohio.                             Is that your
  15      understanding as well?
  16             A.       It is, up to the federal limit that you
  17      just referenced.
  18             Q.       And when you say "up to the federal
  19      limit," that would mean that would be the
  20      physician's base salary up to that threshold of
  21      $181,500, correct?
  22             A.       That is correct.
  23             Q.       Do you have any understanding as to what
  24      Dr. Thress' salary was as of 2015?
  25             A.       I do not.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 19
    1            Q.       To the extent that Dr. Thress' base salary
    2     was in excess of $181,500, that would be
    3     inconsistent with the terms and conditions of the
    4     federal grant -- the 330 federal grant, correct?
    5            A.       No.     Dr. Thress' salary can be paid up to
    6     $181,000 from federal grant dollars.                             His salary
    7     and compensation may be paid at market rate and
    8     paid for by other revenues within HealthSource.
    9            Q.       Understood.           So anything in excess of
  10      $181,500 would be coming from other sources outside
  11      federal grant money, correct?
  12             A.       That is correct.
  13             Q.       What I'd like to do next is show you what
  14      we'll mark as Deposition Exhibit Number 3.
  15      (Thereupon, Deposition Exhibit 3 was marked for
  16      purposes of identification.)
  17             Q.       Can you see the screen, Ms. Patton?
  18             A.       I can, but not very clearly.
  19             Q.       I'll represent to you, Ms. Patton, that
  20      this is an excerpt of the 330 grant application
  21      that was submitted on behalf of HealthSource of
  22      Ohio in September of 2014.                      Did you review any
  23      grant applications in preparation for today's
  24      deposition similar to what we're looking at now?
  25             A.       I did not.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 20
    1            Q.       Are you generally familiar with the format
    2     of the 330 grant application?
    3            A.       I am.
    4            Q.       And I'll take you kind of page by page and
    5     not ask you questions yet, but is this in a format
    6     consistent with what you've seen in the past or
    7     reviewed as the work product of Ms. Jackson before
    8     finalizing and submitting to HRSA relative to that
    9     330 grant application?
  10             A.       Yes.
  11             Q.       And if we look at, beginning on the fifth
  12      page of this PDF, Form 5B lists the service sites
  13      where HealthSource of Ohio is providing care and
  14      treatment to underserved, uninsured or those in
  15      need in the medical community, correct?
  16             A.       That is correct.
  17             Q.       And as part of the 330 federal grant
  18      application process, the goal is to lay out in the
  19      application for HRSA in the Department of Health
  20      and Human Services how the proceeds from any grant
  21      will be used to provide care and treatment to the
  22      underserved, uninsured or those in need in the
  23      medical community, correct?
  24             A.       Correct.
  25             Q.       Including detailing any service sites


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 21
    1     where physicians may be providing care and
    2     treatment to those patients as well, correct?
    3            A.       Correct.
    4            Q.       Looking at the service sites under 5B,
    5     what's your understanding as to those service sites
    6     that are listed generally in subsection Form 5B?
    7            A.       They are service sites of HealthSource of
    8     Ohio that are in scope according to the federal
    9     definition.
  10             Q.       What do you mean by "in scope according to
  11      the federal definition"?
  12             A.       To open a site, you have to apply for that
  13      site to be what they call in scope, I have to give
  14      it scope to be a site for HealthSource, so it is a
  15      HealthSource site that is in scope.
  16             Q.       And are the sites listed in 5B owned and
  17      operated by HealthSource of Ohio?
  18             A.       They are -- yes, those practices are owned
  19      and operated by HealthSource of Ohio.
  20             Q.       So Mount Orab is a HealthSource of Ohio
  21      facility?
  22             A.       Correct.
  23             Q.       And Georgetown Pediatrics as well?
  24             A.       Yes.
  25             Q.       And Ripley, is that a HealthSource of Ohio


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 22
    1     site?
    2            A.       It is.
    3            Q.       And HealthSource of Ohio, Inc., is that a
    4     service site?
    5            A.       It is our administrative site.
    6            Q.       And HealthSource Mount Washington, is that
    7     a service site as well?
    8            A.       Yes.
    9            Q.       And Washington Courthouse, is that a
  10      service site?
  11             A.       Yes.
  12             Q.       Is New Richmond Family Practice a service
  13      site, HealthSource of Ohio?
  14             A.       Yes.
  15             Q.       Anderson OB-GYN, is that a service site of
  16      HealthSource of Ohio?
  17             A.       Yes.
  18             Q.       Hillsboro Health Center, is that a service
  19      site of HealthSource of Ohio?
  20             A.       Yes.
  21             Q.       And Mount Orab Elementary Middle SBHC, is
  22      that a service site of HealthSource of Ohio?
  23             A.       Yes.
  24             Q.       Mount Orab is listed again, correct?
  25             A.       Yes.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 23
    1            Q.       And then Eastgate Pediatrics, is that a
    2     service site of HealthSource of Ohio?
    3            A.       Yes.
    4            Q.       SBHC Hamersville Elementary Middle School,
    5     is that a service site of HealthSource of Ohio?
    6            A.       Yes.
    7            Q.       HealthSource of Ohio as of 2014, 2015 was
    8     owning and operating a school?
    9            A.       We were owning and operating a
  10      school-based health center.
  11             Q.       And then Goshen Family Practice, is that a
  12      HealthSource of Ohio service site?
  13             A.       Yes.
  14             Q.       And then Batavia Family Practice OB-GYN,
  15      is that a service site of HealthSource of Ohio?
  16             A.       Yes.
  17             Q.       HealthSource Lebanon, was that a service
  18      site of HealthSource of Ohio?
  19             A.       Yes.
  20             Q.       Appalachian Hope Van, was that a
  21      HealthSource of Ohio service site?
  22             A.       Yes.
  23             Q.       And HealthSource Batavia Pharmacy, was
  24      that a HealthSource of Ohio service site?
  25             A.       Yes.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 24
    1            Q.       Seaman and HealthSource Wilmington are two
    2     additional service sites, correct?
    3            A.       Yes.
    4            Q.       Is Mercy Health Anderson Hospital
    5     identified in subsection 5B as a service site of
    6     HealthSource of Ohio?
    7            A.       It is not by definition of HRSA.
    8            Q.       Meaning that HealthSource of Ohio is
    9     not -- strike that.
  10                      Meaning that Mercy Anderson Hospital is
  11      not within scope pursuant to the federal definition
  12      that you mentioned earlier in the deposition,
  13      correct?
  14             A.       It means that being in scope as an
  15      operational site for a qualified health center, and
  16      hospitals are not in that definition.
  17             Q.       So shifting back to Exhibit Number 3,
  18      looking at Form 5C, that lists "Other Activities
  19      and Locations," Ms. Patton?
  20             A.       If you could make it larger, that would be
  21      helpful.
  22             Q.       A little easier to see.
  23             A.       Thank you.
  24             Q.       So re-asking that question, Form 5C
  25      identifies "Other Activities or Locations" as the


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 25
    1     header of that section, correct?
    2            A.       That's correct.
    3            Q.       What's your understanding as part of the
    4     application process for a 330 grant where the
    5     information included in Other Activities or
    6     Locations comes from?
    7            A.       It comes from our other activities that
    8     our clinical staff participate in that do not meet
    9     the definition of Form 5A or Form 5B.
  10             Q.       And in the left-hand margin of Exhibit 3,
  11      under "Activity and Location Information," it
  12      identifies the "Type of Activity," "Frequency of
  13      Activity," "Description of Activity" and "Types of
  14      Locations Where Activity is Conducted," correct?
  15             A.       Correct.
  16             Q.       And there's eight different types of other
  17      activities or locations listed under Form 5C,
  18      correct?
  19             A.       Yes.      It went a little fast, but I'll take
  20      your count as correct.
  21             Q.       We can go line by line.                   "Hospital
  22      admitting" is one form of other activity or
  23      location, correct?
  24             A.       Yes.
  25             Q.       "Home visits" is another form of activity


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 26
    1     or location, correct?
    2            A.       Correct.
    3            Q.       "County fair screening days" is another
    4     activity or location, correct?
    5            A.       Yes.
    6            Q.       "Medical rounds" is another activity or
    7     location, correct?
    8            A.       Correct.
    9            Q.       "Sports team coverage" is another activity
  10      or location, correct?
  11             A.       Yes.
  12             Q.       "Health fairs" is another activity or
  13      location as well, correct?
  14             A.       Yes.
  15             Q.       And "Nursing home" and "Kindergarten
  16      sports physicals" are two additional activities or
  17      locations, correct?
  18             A.       Correct.         Correct.
  19             Q.       In the eight examples that we just went
  20      through, Ms. Patton, do you see "House officer"
  21      being listed as the type of activity?
  22             A.       It is not listed specifically.
  23             Q.       Do you see "Physician call coverage" being
  24      listed as a type of activity in the eight examples
  25      we just went through?


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 27
    1            A.       "Call coverage" is not listed because it
    2     is a contract requirement for physicians to cover.
    3     It is under "Hospital admitting" and it is also
    4     under "Rounds."
    5            Q.       But not specifically listed in the
    6     application that's submitted to HRSA for a 330
    7     federal grant, correct?
    8            A.       Correct.
    9            Q.       And Mercy Health Anderson Hospital is not
  10      listed as a specific location under "Other
  11      Activities or Locations" in Form 5C of this grant
  12      application, correct?
  13             A.       Correct.
  14             Q.       As of 2015, were you aware of a
  15      Professional Services Agreement between
  16      HealthSource of Ohio and Mercy Health Anderson
  17      Hospital?
  18             A.       Yes.
  19             Q.       Do you know when that agreement was first
  20      entered into?
  21             A.       I do not, off the top of my head.
  22             Q.       Was there a signature page on the
  23      Professional Services Agreement that you have in
  24      front of you?
  25             A.       I believe so.            Let me look.            Yes.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 28
    1            Q.       And what page are you referring to in
    2     particular?
    3            A.       Page 11.
    4            Q.       And on page 11, is that your signature
    5     listed under the "Corporation" heading, the second
    6     signature on the right-hand column?
    7            A.       Yes.
    8            Q.       And what's the date of that signature?
    9            A.       2-28-13.
  10             Q.       Does that refresh your recollection to any
  11      extent, Ms. Patton, as to when this agreement would
  12      have been entered between HealthSource of Ohio and
  13      Mercy Health Anderson Hospital?
  14             A.       Yes, according to this document.
  15             Q.       And that would have been in -- the first
  16      quarter of 2013 approximately, correct?
  17             A.       Correct.
  18             Q.       Do you have any understanding as to how
  19      this agreement first came into existence?
  20             A.       It was an agreement that Mercy and
  21      HealthSource engaged in for OB coverage to protect
  22      patient care.
  23             Q.       Do you have any recollection or any
  24      understanding as to whether Mercy Health Anderson
  25      Hospital approached HealthSource of Ohio or


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 29
    1     HealthSource approached Mercy regarding the
    2     implementation or initial negotiations of this
    3     agreement?
    4            A.       I don't remember.
    5            Q.       Other than patient safety, do you have any
    6     understanding as to why this agreement was entered
    7     into between HealthSource of Ohio and Mercy
    8     Anderson Hospital?
    9            A.       It was entered into for the coverage of
  10      the hospital floor for patient coverage because
  11      Mercy Anderson does not have an OB-GYN residency
  12      program to cover the hospital, the OB-GYN floor.
  13             Q.       Do you have any understanding as to who on
  14      behalf of HealthSource participated in the
  15      formulation or negotiation of this Professional
  16      Services Agreement?
  17             A.       It was myself.
  18             Q.       And this agreement called for house
  19      officer services that various obstetricians would
  20      provide to Mercy Health Anderson Hospital, correct?
  21             A.       That is correct.
  22             Q.       So in terms of the description of services
  23      listed on page 12, 13 and 14 of that agreement --
  24      do you have pages 12, 13, 14 of that agreement?
  25             A.       I do.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 30
    1            Q.       And in the top right-hand corner it lists
    2     Exhibit A, correct?
    3            A.       It does.
    4            Q.       And then in the middle there's a heading
    5     that says, "Description of Services" and the first
    6     two sentences read:                 The provider as house officer
    7     will see any patient at the request of a Mercy
    8     Family person or RN without an MV order.                                All M.D.s
    9     providing house officer coverage will be NCC
  10      certified within one year of being credentialed."
  11      And then the third sentence saying, "Provider
  12      shall" and there's A through X, different items
  13      enumerated, correct?
  14             A.       Correct.
  15             Q.       And you participated in the development of
  16      the description of services as part of the
  17      formulation of the Professional Services Agreement?
  18             A.       I was aware of the description of services
  19      and they were -- I would tell you that I am not
  20      qualified to negotiate some of these in that this
  21      is a very detailed description for an OB-GYN
  22      service, but I am aware of what these services
  23      require.
  24             Q.       And these were services that Mercy Health
  25      Anderson Hospital required of the obstetricians in


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 31
    1     providing house officer services to labor and
    2     delivery patients at the hospital consistent with
    3     this agreement, correct?
    4            A.       That is correct.
    5            Q.       And ultimately Dr. Thress was one of the
    6     house officers that provided care and treatment to
    7     patients at Mercy Health Anderson pursuant to this
    8     Professional Services Agreement, correct?
    9            A.       Correct.
  10             Q.       Do you have any recollection as to when
  11      Dr. Thress first started working at HealthSource of
  12      Ohio?
  13             A.       I do not.
  14             Q.       What's your understanding as to how the
  15      physicians that provided health services to Mercy
  16      Anderson were compensated for those services?
  17             A.       They were compensated for the services --
  18      because the contract was with HealthSource,
  19      HealthSource was compensated for the services, and
  20      we in turn compensated the physician.
  21             Q.       Do you have any understanding as to why
  22      Mercy Health Anderson Hospital didn't directly
  23      compensate the physicians versus the money or
  24      compensation passing through HealthSource first
  25      before being remitted to the physicians?


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 32
    1            A.       Because for us, in our physician contract,
    2     the physicians are required to take call and
    3     they're also required to provide hospital services
    4     as part of their employment agreement, and so it
    5     was set up so that the contract was between us, as
    6     HealthSource, and Mercy.
    7            Q.       Do you know what the breakdown was in
    8     terms of the compensation that the provider made
    9     off of the services as a house officer versus what
  10      amount of money that HealthSource of Ohio would
  11      receive as compensation for the house officer
  12      services provided to Mercy Anderson?
  13             A.       The agreement is that HealthSource
  14      receives 20 percent and the physician who had done
  15      the house officer work would receive 80 percent.
  16             Q.       So of the 100 percent that's originating
  17      from Mercy Health Anderson Hospital and being paid
  18      directly to HealthSource, 80 percent of that goes
  19      directly to the physician, correct?
  20             A.       That is correct.
  21             Q.       And the remaining 20 percent goes to
  22      HealthSource of Ohio?
  23             A.       That is correct.
  24             Q.       And that money that's received as part --
  25      strike that.


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 33
    1                     The money received as part of the
    2     Professional Services Agreement in the house
    3     officer services that physicians like Dr. Thress
    4     provided at Mercy Health Anderson Hospital, that
    5     was not 330 grant money, correct?
    6            A.       No, that was not 330 grant money.
    7            Q.       That's money coming from a private
    8     hospital system, correct?
    9            A.       It is money coming from the contract to
  10      cover the OB-GYN services.
  11             Q.       But money paid by a private entity,
  12      correct?
  13             A.       Yes.
  14             Q.       So understanding that Mercy is paying
  15      HealthSource and then HealthSource is remitting
  16      80 percent of any compensation that that provider
  17      has earned as part of their house officer services,
  18      that money is really originating from Mercy Health
  19      Anderson, correct?
  20             A.       Yes.
  21                      MR. POSTER:           Can we take a quick
  22      five-minute break, please?
  23                                     (Recess taken.)
  24             Q.       Ms. Patton, I just want to shift your
  25      attention back to Exhibit 3 and some of the other


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 34
    1     activities that we were talking about under
    2     Subsection 5C.
    3            A.       Okay.
    4            Q.       If we assume that this 330 grant
    5     application was submitted in September of 2014 --
    6     can you make that assumption with me, Ms. Patton?
    7            A.       Yes.
    8            Q.       That would have been after the
    9     implementation of the Professional Services
  10      Agreement with Mercy Anderson Hospital and
  11      HealthSource of Ohio for obstetrical call coverage,
  12      correct?
  13             A.       Yes.
  14             Q.       And the formulation of that Professional
  15      Services Agreement specifically identifying
  16      obstetricians at HealthSource of Ohio as house
  17      officers, correct?
  18             A.       Yes, according to that they would be under
  19      this contract, that's correct.
  20             Q.       Understanding that that contract was in
  21      existence before the submission of this 330 grant
  22      application laying out other activities and
  23      locations, why wouldn't Mercy Health Anderson
  24      Hospital for house officer be specifically listed
  25      as a type of activity in this document that's


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 35
    1     submitted to HRSA and the Department of Health and
    2     Human Services?
    3            A.       I would tell you that it's under "Hospital
    4     Admitting" and there was another one, "Hospital
    5     Rounding."
    6            Q.       My question is:              Why specifically was it
    7     not listed as a type of activity?
    8            A.       I can't tell you why it wasn't
    9     specifically listed.
  10             Q.       But you would have known of the existence
  11      of the Professional Services Agreement and going
  12      over this 330 grant application and finalizing it
  13      before its submission to HRSA, correct?
  14             A.       Yes, I would have signed it.
  15             Q.       Do you recall signing a declaration in
  16      this case, Ms. Patton, relative to Dr. Thress'
  17      employment at HealthSource of Ohio?
  18             A.       I don't -- I don't remember signing
  19      specifically a document for Dr. Thress, or any of
  20      the other clinicians, for that matter.
  21      (Thereupon, Deposition Exhibit 4 was marked for
  22      purposes of identification.)
  23             Q.       I just want to show you what I've marked
  24      as Deposition Exhibit Number 4 and see if this
  25      refreshes your memory.                   Have you seen this


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 36
    1     declaration before, Ms. Patton?
    2            A.       I obviously signed it, but I don't recall
    3     it very clearly, though.
    4            Q.       Do you have any recollection of preparing
    5     this document yourself?
    6            A.       No.
    7            Q.       Do you know if you prepared this document?
    8            A.       I don't prepare my own documents, so, no,
    9     I would have not prepared this document.
  10             Q.       Looking at paragraph 4, it says, "To the
  11      best of my knowledge, Timothy J. Thress, M.D. was
  12      not billing Dwan Bray/Ny Leah Bray privately, nor
  13      was he receiving monetary compensation for the
  14      services provided to Dwan Bray NB from any
  15      third-party payers, including Medicaid or any other
  16      source other than the regular compensation received
  17      from HealthSource of Ohio."
  18                      Did I read that correctly, Ms. Patton?
  19             A.       You did.
  20             Q.       So, based on -- what's your understanding
  21      as to -- strike that.                  Without divulging anything
  22      that Ms. Popp or Ms. Castro has told you in
  23      confidence relative to the representation of
  24      HealthSource or Dr. Thress in this case, do you
  25      have any understanding of the involvement of


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 37
    1     Dr. Thress in any care and treatment that he may
    2     have provided to the Plaintiffs in this case?
    3            A.       I do not.
    4            Q.       So based on what we established just a few
    5     minutes ago before we took our break, the money
    6     that Dr. Thress was making as a house officer for
    7     the care and treatment he was providing to patients
    8     at Mercy Health Anderson pursuant to that
    9     Professional Services Agreement, that money
  10      originated from the hospital, correct?
  11             A.       That's correct.
  12             Q.       And it passed through HealthSource of Ohio
  13      and was divided into two pots, 20 percent that went
  14      to HealthSource and 80 percent that went to
  15      Dr. Thress, correct?
  16             A.       Correct.
  17             Q.       So understanding that that money was
  18      originating from another source, Dr. Thress was
  19      making compensation from a source outside of
  20      HealthSource of Ohio, correct?
  21             A.       Correct, exactly as it's stated here.
  22             Q.       So the money would come from an outside
  23      source, Mercy Health Anderson, come to
  24      HealthSource, and then be distributed to
  25      Dr. Thress, correct?


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                       Page 38
    1            A.        Correct.
    2                      MR. POSTER:          I think that's all the
    3     questions that I have for you, Ms. Patton.                                  Thank
    4     you very much for your time.
    5                      THE WITNESS:          Thank you.
    6                      MS. CASTRO:          We'll waive signature.
    7                      THE REPORTER:           Can you put your orders on
    8     the record?
    9                      MR. POSTER:          I will take an etran with the
  10      exhibits appended, please.
  11                      (Deposition concluded at 3:05 p.m.)
  12                                          - - - - -
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO


                                                                                         Page 39
    1                      C    E    R     T    I    F    I      C   A    T    E
    2
          STATE OF OHIO,               )
    3                                  )    SS:
          WAYNE COUNTY,                )
    4
             I, Stephanie R. Dean, a Court Reporter and
    5     Notary Public within and for the State of Ohio,
          duly commissioned and qualified, do hereby certify
    6     that the within-named witness, KIMBERLY PATTON, was
          by me first duly sworn to testify the truth, the
    7     whole truth and nothing but the truth in the cause
          aforesaid; that the testimony then given by her was
    8     by me reduced to Stenotype in the presence of said
          witness, afterwards prepared and produced by means
    9     of Computer-Aided Transcription and that the
          foregoing is a true and correct transcription of
  10      the testimony so given by her as aforesaid.
             I do further certify that this deposition was
  11      taken remotely at the time and place in the
          foregoing caption specified, and was completed
  12      without adjournment.
             I do further certify that I am not a relative,
  13      employee of or attorney for any party or counsel,
          or otherwise financially interested in this action.
  14         I do further certify that I am not, nor is the
          court reporting firm with which I am affiliated,
  15      under a contract as defined in Civil Rule 28(D).
             IN WITNESS WHEREOF, I have hereunto set my hand
  16      and affixed my seal of office at Doylestown, Ohio
          on this 31st day of December, 2021.
  17
  18
  19
  20
  21                              _________________________________
                                  Stephanie R. Dean
  22
                     My commission expires August 30, 2025.
  23                                  - - -
  24
  25

&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                            2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                                 DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 40

            $                       DZDUG            &DOGHUKHDG 
 $$521                                               FDOO   
 DELOLW\                         DZDUH             
 DFFRPPRGDWH                                         FDOOHG  
 DFFXUDWH                                                  FDSDFLW\ 
                                               %              FDSWLRQ 
   
 DFWLRQ         DQQXDOO\             EDFN            FDUH  
 DFWLYHO\            DQVZHU                                        
 DFWLYLWLHV       DQVZHUHG              %DOWLPRUH               
            DQVZHULQJ          %DUEDUD              FDVH   
                                    EDVH                
 DFWLYLW\      DQWLFLSDWH            EDVHG            
            DSRORJL]H                                  &DVWUR  
         $SSDODFKLDQ          EDVLF                  
                 $33($5$1&(6               %DWDYLD          FDXVH 
 DGGHG                                      EHJLQQLQJ           FHQWHU  
 DGGLWLRQ            DSSHQGHG             EHKDOI         
 DGGLWLRQDO          DSSOLFDWLRQ                    &(2 
                                           
 DGGUHVV                                FHUWLILHG  
 DGMRXUQPHQW                    EHOLHYH             FHUWLI\ 
 DGPLQLVWUDWLYH                EHQHILW            FKDQJHV 
 DGPLWWLQJ                  EHVW      FKDUJH 
                                                          FKLHI  
 DGYLVLQJ             DSSOLFDWLRQV          EJROGZDVVHU#UHQ       &LQFLQQDWL 
 DIILOLDWHG                                                    FLUFXPVWDQFHV 
 DIIL[HG             DSSOLHG              ELOOLQJ             &LYLO 
 DIRUHVDLG         DSSO\                ELQGLQJ              FODULI\  
 DIWHUQRRQ       DSSUHFLDWLQJ          %RQ               FOHDUO\  
                DSSURDFKHG           ERWWRP               FOLQLFDO 
 DIWHUQRRQ V                                %RXOHYDUG            FOLQLFLDQV 
 DJH                   DSSUR[LPDWHO\        %UD\        &ROXPEXV 
 DJR          DUHDV              %UD\1\             FROXPQ 
 DJUHHPHQW         DVNLQJ          EUHDN        FRPH 
                                                    FRPHV  
         DVVXPH            EUHDNGRZQ              
          DVVXPSWLRQ            %5,$1                FRPLQJ  
         DWWHQWLRQ            EULQJ                 FRPPLVVLRQ 
             DWWRUQH\             EURXJKW        FRPPLVVLRQHG 
                      $WWRUQH\ V                                   FRPPXQLFDWLQJ 
 DO                    $XJXVW          %URZQ             FRPPXQLW\ 
 DOORZ                                     EXGJHW          
 $PHULFD            DXWKRUL]DWLRQ        EXVLQHVV          FRPSDQ\ 
 DPRXQW                                                      FRPSHQVDWH 
                          DYRLG                           &               FRPSHQVDWHG 
 $QGHUVRQ                                   &  

&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 41

               FRUUHFWO\            GHOYH                 
 FRPSHQVDWLRQ                              'HQQLV               GRLQJ 
              FRXQVHO              'HSDUWPHQW         GROODUV 
             FRXQW                         'R\OHVWRZQ 
                     &RXQW\                         'U 
 FRPSOHWHG                             GHSRVHG                  
 &RPSXWHU$LGHG           FRXSOH            GHSRVLWLRQ         
                      FRXUW                      
 FRQFOXGHG                                
 FRQGLWLRQV          &RXUWKRXVH                    GUDIW   
                FRYHU                      GXO\  
 &RQGXFWHG                                        'ZDQ  
 FRQILGHQFH          FRYHUDJH             
 FRQQHFWLRQ                                               (
 FRQVLVWHQW                                     (   
 FRQWDLQHG           FUHDWH                GHVFULEH         HDUOLHU 
 FRQWHQWV             FUHGHQWLDOHG         GHVFULSWLRQ         HDUQHG 
 FRQWUDFW      FXHV                             HDVLHU 
           FXUUHQW                                (DVWJDWH 
              FXUUHQWO\           GHWDLOHG            HIIHFW 
                                           GHWDLOLQJ           HIIHFWLYHO\ 
 FRQYHUVDWLRQDO                                 GHWDLOV         HIILFLHQWO\ 
 FRUQHU                 '               GHYHORSPHQW         HLJKW  
                      '                                      HLWKHU  
 &RUSRUDWLRQ          GDWH                  'LDQH                
 FRUUHFW        '$9,'                 GLIIHUHQW           HOHFWURQLF 
         GD\                                      (OHPHQWDU\ 
            GD\V                  GLUHFWO\         
         '&                                        HPDLO 
         GFDOGHUKHDG#FOS       GLVFRQWLQXHG        HPSOR\HG 
                                 GLVFXVV                
          'HDQ           GLVFXVVHG            HPSOR\HH 
            'HFHPEHU              GLVWULEXWHG         HPSOR\PHQW 
                               'LVWULFW           
          GHFODUDWLRQ                               HQJDJHG 
                               GLYLGHG             HQVXUH  
         GHHPHG               ',9,6,21              HQWDLOV 
         'HHPLQJ              GLYXOJLQJ           HQWHUHG  
             'HIHQGDQW           GRFXPHQW            
        'HIHQGDQWV                 HQWLUHW\ 
                                            HQWLW\  
         GHILQHG                        HQXPHUDWHG 
             GHILQLWLRQ                          HQYLVLRQ 
                     GRFXPHQWV        (30 
          GHOLYHU\                      HVSHFLDOO\ 


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 42

 (64        IHHO                  JRDO              
                      ILIWK                                      
 HVWDEOLVKHG          ILOHG                 JRHV                
 HW                    ILQDOL]LQJ       JRLQJ         
 HWUDQ                ILQDQFLDOO\                              +HDOWK6RXUFH 
 HYHQW       ILQDQFLDOV          *2/':$66(5                  
 H[DFWO\             ILQLVK                                  
 H[DPLQDWLRQ        ILUP                 JRRG                  
                       ILUVW        *RVKHQ                
 H[DPSOHV                     JRYHUQPHQW              
 H[FHUSW                              JUDQW         
 H[FHVV         ILVFDO                            
 H[HFXWLYH           ILYH                          
               ILYHPLQXWH                     
 ([KLELW      )/$,0                           
         IORRU                  
           IROORZLQJ                     
            IROORZV                           
                     IRUHJRLQJ                      
 H[KLELWV         IRUP                              
 H[LVWHQFH                    JUDQWHH               
                             JUDQWV           
 H[SHFWDWLRQ         IRUPDO                          
 H[SLUHV             )RUPDQ                 JURXQG                 
 H[SODQDWLRQ           IRUPDW              *8$5',$16              
 H[WHQW          IRUPXODWLRQ          JXHVV                KHOS 
                                          J\QHFRORJLFDO        KHOSIXO 
           )              IUDQNO\                                         KHUHLQDIWHU 
 )                    )UHTXHQF\                      +              KHUHXQWR 
 IDFLOLW\            )5,(1'6                +DPHUVYLOOH          +LOOVERUR 
 IDLU        IURQW            +DPLOWRQ             KRPH  
 IDLUO\               )U\                   KDQG                +RSH 
 IDLUV               IXOO              KDSSHQV               KRVSLWDO  
 IDPLOLDU             IXQGV                 KDSS\                   
 IDPLOLDULW\         IXUWKHU        KDUG                   
 )DPLO\                                   KHDG              
                           *               KHDGHU                  
 IDVW                *D\                   KHDGLQJ             
 IHGHUDO        JHQHUDO              KHDOWK         
             JHQHUDOO\                      KRVSLWDOV 
                                  KRXVH  
            *HRUJHWRZQ                       
            JLYH                     
 IHGHUDOO\       JLYHQ                     
                      JR                           +56$  


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 43

            -XVWLFH                ORFDWLRQV          
                                                   
                             .                                
 +XPDQ           .LHO\                 /RFNHPH\HU            
           .LPEHUO\           ORQJ        PHWULFV 
                                                       PLGGOH  
                          NLQG              ORRN             
            ,             .LQGHUJDUWHQ         ORRNLQJ        0LOOHU 
 LGHQWLILFDWLRQ        NQRZ                        0LOOHU V 
                                      0,125 
 LGHQWLILHG                        /RYHODQG         PLQXWHV  
 LGHQWLILHV          NQRZOHGJH                                     PRPHQWV 
                     NQRZQ                         0               PRQHWDU\ 
 LGHQWLI\LQJ                                   0'             PRQH\  
 ,,                              /              0'V                  
 LPSOHPHQWDWLRQ       ODEHOHG              PDMRULW\              
                      ODERU             PDNLQJ             
 LQFOXGHG        ODUJHU               PDQDJHPHQW           0RXQW  
 LQFOXGHV            ODZIXO                                      
 LQFOXGLQJ           ODZVXLW                PDQQHU                09 
                     OD\                  0$5*$5(7              0\OHV   
 LQFRQVLVWHQW         OD\LQJ               PDUJDUHWFDVWUR#      P\OHV#PDOSUDFWL
 LQFRUSRUDWHG         /HDK                                        
 LQGLYLGXDO           /HEDQRQ              PDUJLQ 
 LQIRUPDWLRQ       OHIW                  PDUN                    1
           OHIWKDQG            PDUNHG         1 
                   OHQJWK                        1% 
 LQLWLDO              OHYHO                 PDUNHW               QDPH   
 LQSXW       OLPLW             PDUNHWLQJ           1$785$/ 
 LQTXLU\           OLQH            PDWWHU              1% 
 LQWHUHVWHG                            0'                    1&& 
 LQWHUQDO             /LVD             PHDQ           QHFHVVDU\ 
 LQYROYHG            OLVWHG        0HDQLQJ           QHHG   
 LQYROYHPHQW                    PHDQV            
 LWHP                    0HGLFDLG        QHJOHFWHG 
 LWHPV                           PHGLFDO          QHJRWLDWH 
                                                                   QHJRWLDWLRQ 
           -              OLVWV       PHHW                 QHJRWLDWLRQV 
 -                                      PHPRU\              QHZ  
 -DFNVRQ          OLWWOH          PHQWLRQHG          
           //&                                  1LQHWHHQ 
 -DFNVRQ V           //3                   0HUF\          QRHV 
                     ORFDWHG                         QRQYHUEDO 
 -DQXDU\         ORFDWLRQ                   1RWDU\ 
                                           1RWLFH  
 MXPS                    

&RDVWWRFRDVWFRYHUDJH                 (YDQV5HSRUWLQJ6HUYLFH                         2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 44

                    SDUWLFLSDWHG        SODFH 
                                                     3ODLQWLII  
 QXPEHU           RND\          SDUWLFXODU          3ODLQWLIIV  
                                                   SOD\ 
                     ROG                   SDUWLFXODUO\         SOHDVH  
 QXPEHUV              RSHQ                 SDUW\                  
 1XUVLQJ             RSHUDWHG          SDVVHG                
 1:                   RSHUDWLQJ           SDVVLQJ             SRLQW  
                          RSHUDWLRQDO          SDWLHQW         SRRUO\ 
           2              RSHUDWLRQV                           3RSS  
 2%                  RSSRUWXQLW\        SDWLHQWV       3RVWHU   
 2%*<1                                                            
           2UDE         3DWULGJH             SRWHQWLDO 
           RUGHU                 3DWWRQ       SRWHQWLDOO\ 
 REVWHWULFDO          RUGHUV                           SRWV 
                     RULJLQDWHG                    SUDFWLFH 
 REVWHWULFLDQ        RULJLQDWLQJ                       
 REVWHWULFLDQV                                  SUDFWLFHV 
                RXWVHW                          SUHSDUDWLRQ 
 REWDLQ              RXWVLGH         SD\               
 REYLRXVO\                                 SD\HUV                 
 RIILFH       RYHUORRN          SD\LQJ              SUHSDUH  
 RIILFHU                              3')                   
          RYHUVHH              3HGLDWULFV          SUHSDUHG  
            RZQHG                                  SUHSDULQJ 
          RZQLQJ              SHQGLQJ              SUHVHQFH 
 RIILFHUV                                  SHRSOH               SUHVLGHQW 
 2IIXWW                          3               SHUFHQW          
 2+           3$7721                          
 2KLR         SP                               3UHWW\ 
            SDJH         SHULRG        SUHYLRXV 
                                           SULPDU\ 
                                 SHUVRQ         SULRU  
         SDJHV             SHUVSHFWLYH            
                               3HVFKNH              SULYDWH 
            SDLG         3KDUPDF\            SULYDWHO\ 
                                SKUDVHG              SUREDEO\ 
            3$0(/$                SK\VLFDOV           SURFHHGV 
            SDUDJUDSK             SK\VLFLDQ       SURFHVV  
                                              
         3$5(176                                 SURGXFHG 
            SDUW            SK\VLFLDQ V         SURGXFW 
                       SK\VLFLDQV          3URIHVVLRQDO 
                                           
             SDUWLFLSDWH                           


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 45

                            UHTXLUHPHQWV        VHDQIODLP#KKVJRY
 SURJUDP             UHFHLYHG         UHVLGHQF\             
 SURMHFW                                 5HVRXUFHV            VHFRQG  
 SURSRVHG             UHFHLYHV        UHVSRQVHV             6HFRXUV  
 SURWHFW             UHFHLYLQJ            UHVSRQVLELOLW\      VHFWLRQ  
 SURYLGH          5HFHVV               UHYHQXHV             VHH   
                 UHFLSLHQW            UHYLHZ               
 SURYLGHG          UHFROOHFWLRQ                  
                                                 VHHQ  
                      UHFRUG          UHYLHZHG              
 SURYLGHU                                                     VHQVH 
                 UHFRUGV               5LFKPRQG            VHQWHQFH 
 SURYLGHV             UHGXFHG               ULJKWKDQG          VHQWHQFHV 
 SURYLGLQJ       UHIHUHQFHG                            6HSWHPEHU 
              UHIHUULQJ             5LSOH\                  
 3XEOLF               UHIUHVK              51                   VHUYLFH  
 SXUSRVHV          UHIUHVKHV            5RDG                 
                UHJDUGLQJ             UROH         
 SXUVXDQW            UHJXODU                                     
             5HLVWHUVWRZQ           5RXQGLQJ               
 SXW                  UHODWLYH         URXQGV               
                                          535                  VHUYLFHV  
           4              UHPDLQLQJ            5XOH                    
 TXDOLILHG       UHPHPEHU              UXOHV                   
                                                            
                      UHPLWWHG                        6                
 TXDOLW\            UHPLWWLQJ            VDIHW\                  
 TXDUWHU             5HPRWH             VDODULHV               
 TXHVWLRQ       UHPRWHO\             VDODU\          
         UHPRYDO                                   
             UHPRYHG               VDWLVILHG            VHW  
                      5HQGLJV               VDZ                   VHYHQ 
 TXHVWLRQV          UHSKUDVH               VD\LQJ              VKDNHV 
                  UHSRUWHU       VD\V            VKLIW 
 TXLFN                                 6%+&            VKLIWLQJ 
                          UHSRUWLQJ            VFDOH                VKRZ   
           5              UHSUHVHQW         VFKRRO               
 5           UHSUHVHQWDWLRQ       VFKRROEDVHG        VKRZHG 
 51                  UHSUHVHQWDWLYH        VFRSH       VLGH 
 UDWH                                               VLJQDWXUH  
 UHDVNLQJ           UHTXHVW               VFUHHQ             
 UHDG            UHTXLUH              VFUHHQLQJ            VLJQHG  
                     UHTXLUHG         VHDO                VLJQLQJ 
 UHDOO\                                    6HDPDQ               VLPLODU 
 UHFDOO          UHTXLUHPHQW           6($1                 VLPLODUO\ 
 UHFHLYH 

&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 46

 VLWH                   7LPRWK\         
                              WLWOH               XQLQVXUHG 
       VXEPLWWLQJ            WRGD\          
         VXEVHFWLRQ                            XQLW 
                                  WRGD\ V         8QLWHG  
                   VXJJHVWLRQV                   86$$ 
 VLWHV       6XLWH         
             VXSHUYLVH            7RIW                            9
           6XUH                  WROG                9DQ 
 6L[               VZRUQ              WRQH                 YDULRXV 
 VRPHZKDW             V\VWHP            WRS        YHUEDO 
 VRUU\                                     WUDQVFULSW           YHUVXV  
                                 7              WUDQVFULSWLRQ      YLFH  
 VRXUFH          7                   WUHDWPHQW        9LQH 
               WDNH                     YLVLWV 
 VRXUFHV                      7UL5LGJH            9RJHOVWHLQ 
 6RXWKHUQ                        WUXH                 YV 
                      WDNHQ           WUXWK 
 VSHFLILF        WDONHG                7XHVGD\                         :
 VSHFLILFDOO\          WDONLQJ               WXUQ                :DLV 
            WHDP                  WZR          ZDLYH 
            WHOO                        ZDQW  
 VSHFLILHG                               W\SH        :DUGV 
 VSHQG                WHUPV                             :DVKLQJWRQ 
 VSRNHQ                          W\SHV             
 VSRUWV                                                      ZDVQ W 
 66                   WHVWLI\                      8              :$<1( 
 VWDII                WHVWLPRQ\         86                 ZH OO   
 VWDQG                              XKKXK                ZH UH  
 VWDUW             7KDQN              XOWLPDWHO\           ZH YH  
 VWDUWHG                            XQGHULQVXUHG         ZHQW  
 6WDWH          WKLQJV                XQGHUVHUYHG          
 VWDWHG              WKLQN                                :(67(51 
 6WDWHV          WKLUG            XQGHUVWDQG          :+(5(2) 
 6WHQRW\SH            WKLUGSDUW\                    :LOPLQJWRQ 
 6WHSKDQLH        WKUHH                                     ZLWKLQQDPHG 
                     WKUHVKROG            XQGHUVWDQGLQJ        ZLWQHVV  
 6WUHHW          7KUHVV                    
 VWULNH                              :RPHQ V 
                                  ZRUGHG 
 VXEPLVVLRQ                               ZRUN  
           7KUHVV                     ZRUNLQJ 
 VXEPLWWHG                                            ZRXOGQ W 
           WLPH                              ZULWWHQ 
                              XQGHUVWRRG 
                                                                                        ;


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
                                     .LPEHUO\3DWWRQ
           1%$0LQRU 'ZDQ%UD\DQG$DURQ%UD\ Y%RQ6HFRXUV0HUF\+HDOWK,QFHWDO
                                                                                         Page 47

 ;                                         
                                      $ 
           <                                   %  
 \HDU                           
                          &  
 \HDUV                              
 \HDUV                
 <HVHV                                                 
                                             
            =                                
 ]LS                  VW 
 =RRP                                                
                                              
            
                           ' 
                                                              
            
                                                     
                                     
                             
   
                             
  
                           
 &9 
                           
  
                           
  
                          VW 
  
                            
  
                             
  
                             
  
                             
   
                             
  
                              
  
                             
  
                           
  
                     
                       
                     
                      
                          
                           
   
                           
  
                           
  
                           
   
                           
  
                           
   
                           
     
                           
   
                          WK 
   


&RDVWWRFRDVWFRYHUDJH                (YDQV5HSRUWLQJ6HUYLFH                          2YHU\HDUV
8QVXUSDVVHGH[FHOOHQFH                                               DZDUGZLQQLQJVHUYLFH
